Case 1:21-cv-20047-CMA Document 7 Entered on FLSD Docket 01/19/2021 Page 1 of 1


                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 21-20047-CIV-ALTONAGA

 WINDY LUCIUS,

        Plaintiff,
 v.

 STELLA MCCARTNERY
 AMERICA, INC.,

       Defendant.
 _________________________/

                       ORDER ADMINISTRATIVELY CLOSING CASE

        THIS CAUSE is before the Court on the Plaintiff’s Notice of Settlement [ECF No. 6],

 filed on January 19, 2021. The Court having carefully reviewed the file, and being otherwise

 fully advised, it is hereby

        ORDERED AND ADJUDGED as follows:

        1. The above-styled action is administratively CLOSED without prejudice to the parties

 to file a stipulation for dismissal within sixty (60) days of the date of this Order.

        2. If the parties fail to complete the expected settlement, either party may request the

 Court to reopen the case.

        3. The Clerk shall CLOSE this case for administrative purposes only. Any pending

 motions are DENIED AS MOOT.

        DONE AND ORDERED in Miami, Florida, this 19th day of January, 2021.




                                                           _________________________________
                                                           CECILIA M. ALTONAGA
                                                           UNITED STATES DISTRICT JUDGE
 cc:    counsel of record
